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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA
                            CASE NO. 21-22053-CIV-WILLIAMS

  MATTHEW WEBB, et al.

          Plaintiffs,
  vs.

  ANITA P. SHARMA,

       Defendant.
  ________________________________/

                                          ORDER

          THIS MATTER is before the Court on Magistrate Judge Chris McAliley’s Report

  and Recommendation (the “Report”) (DE 20) on Plaintiffs’ Motion to Remand (the

  “Motion”) (DE 8).     In the Report, Judge McAliley explains that Defendant proffered

  undisputed evidence showing that Plaintiffs’ total losses exceed $75,000 at the time of

  the removal. (DE 20 at 4). Accordingly, Judge McAliley recommends that the Motion (DE

  8) be DENIED. The Parties did not file objections to the Report and the time to do has

  now passed. Accordingly, upon an independent review of the Report, the Motion, and

  the Record, it is ORDERED AND ADJUDGED as follows:

          1. The conclusions in the Report (DE 20) are AFFIRMED AND ADOPTED.

          2. Plaintiffs’ Motion to Remand (DE 8) is DENIED.

          DONE AND ORDERED in Chambers in Miami, Florida, this 27th day of October,

  2021.
